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SCAN FORM AND ATTACHMENTS
RECORD OF FUNDS RECEIVED FOR DEPOSIT

INTO REGISTRY ACCOUNT

TO: 1. Intake Clerk *

2. Case Administrator

FROM: Financial Administrator

DATE: Ui#/rore

a {
CASE NAME: aM af

CASENUMBER: | O07 2 0954- GLT

Check Number 7 @Gt@4,, the amount of $ 200, 58 a.4lwas received

this date and placed in an existing registry account of unclaimed
funds.

Receipt Number: [3665 Intake Clerk's Initials QyR

* AFTER CHECK IS ENDORSED THROUGH THE REGISTER, PLEASE
FORWARD TO THE APPROPRIATE CASE ADMINISTRATOR.

#4b-F

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OFFICE OF THE CHAPTER 13 TRUSTEE, W.D. PA
U.S. STEEL TOWER - SUITE 3250
600 GRANT STREET
PITTSBURGH, PA 15219
TELEPHONE: (412) 471-5566
FAX; (412) 471-5470
Email - inquiries@chapter13trusteewdpa.com

RONDA J. WINNECOUR

STANDING TRUSTEE

01/16/2018

Michael R. Rhodes, Esquire OR Michael R. Rhodes, Esquire
Clerk, US Bankruptcy Court Clerk, US Bankruptcy-€ourt
5414 U.S. Steei Tower U.S. Courthouse, Room B160" :
600 Grant Street 17 South Park°Row ‘--

Pittsburgh, PA 15219 Erie, PA 16501

Re: CAROLE L. TAYLOR

Case No: 1020954

Dear Mr. Rhodes:

| enclose herein a check which represents unclaimed monies in the Chapter 13 case reference above.
These funds are owned by the following debtor(s). The Trustee issued funds as a refund to the debtor(s), in
accordance with the Chapter 13 plan. The address shown is based on the Trustee’s best and most recent
information.
Carole L. Taylor
1112 N Negiey Ave
Pittsburgh,PA 15206

CHECK NUMBER 1066161 AMOUNT_$208552.41

The disbursement(s) was returned to the Trustee for the following reason:

The check became stale dated, not having been negotiated within 90 days of the issue.

Therefore, pursuant to Section 347(a) of the Bankruptcy Code, the Trustee hereby pays the funds into Court
for disposition in accordance with Chapter 129 of Title 28, U.S.C.

/s/ Jackie Blough
Administrative Assistant

for Ronda J. Winnecour, Esq.
Chapter 13 Trustee

CC:PRO SE
CAROLE L. TAYLOR

